Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 1 of 30 Page ID #:383



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      7
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      8     Everi Games Inc.
      9

     10                            UNITED STATES DISTRICT COURT
     11                          CENTRAL DISTRICT OF CALIFORNIA
     12

     13     JOSE VALENZUELA, individually and             Case No.: 2:24-cv-00257-MRA-JPR
            on behalf of all others similarly situated,
     14                                                   Assigned to Hon. Mónica Ramírez
                                       Plaintiffs,        Almadani
     15
            v.                                            DECLARATION OF ELIZABETH A.
     16                                                   SPERLING IN SUPPORT OF
            EVERI GAMES INC., and DOES 1                  DEFENDANT EVERI GAMES INC.’S
     17     through 10, inclusive,                        MOTION TO DISMISS AND/OR
                                                          STRIKE PLAINTIFF’S SECOND
     18                                Defendants.        AMENDED COMPLAINT
                                                          PURSUANT TO FED. R. CIV. P.
     19                                                   12(b)(6) AND 12(f)
     20                                                   Hearing Date: May 23, 2024
                                                          Hearing time: 1:30 p.m.
     21                                                   Courtroom: 10B
     22
                                                          Date filed: November 17, 2023
     23                                                   Removal Date: January 10, 2024
     24

     25

     26

     27

     28

                                                       1
                                      DECLARATION OF ELIZABETH A. SPERLING
  2366691
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 2 of 30 Page ID #:384



      1                     DECLARATION OF ELIZABETH A. SPERLING
      2           I, Elizabeth A. Sperling, declare as follows:
      3           1.     I am an attorney duly licensed to practice law before all courts of the State
      4     of California and in the Central District of California and am a partner of Glaser Weil
      5     Fink Howard Jordan & Shapiro LLP, attorneys of record for Defendant Everi Games
      6     Inc. (“Everi”) in this matter. This declaration is submitted in support of Everi’s Motion
      7     to Dismiss and/or Strike Plaintiff’s Second Amended Complaint. I have personal
      8     knowledge of the facts set forth in this declaration and, if called as a witness, could and
      9     would testify competently to such facts under oath.
     10           2.     On March 4, 2024, Plaintiff Jose Valenzuela (“Plaintiff”) commenced this
     11     action by filing a complaint in the Superior Court of the State of California for the
     12     County of Los Angeles, entitled Jose Valenzuela, v. Everi Games Inc., et al., Los
     13     Angeles Superior Court, Case No. 23STCV22084.
     14           3.     On November 17, 2023, Plaintiff filed his First Amended Complaint, a
     15     copy of which is attached to Everi’s Notice of Removal at Exhibit 12. See Doc. No. 1.
     16           4.     On March 4, 2024, Plaintiff filed the operative Second Amended
     17     Complaint. See Doc. No. 24.
     18           5.     Attached as Exhibit 1 is a true and correct copy of a redline comparison
     19     my office prepared showing the changes from the First Amended Complaint to the
     20     operative Second Amended Complaint.
     21           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws
     22     of the United States of America that the foregoing is true and correct and that this
     23     declaration is executed on March 18, 2024, in San Diego, California.
     24

     25
                                                    /s/ Elizabeth A. Sperling
                                                  Elizabeth A. Sperling
     26

     27

     28

                                                       2
                                      DECLARATION OF ELIZABETH A. SPERLING
  2366691
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 3 of 30 Page ID #:385




           EXHIBIT 1
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 4 of 30 Page ID #:386




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     5   Attorneys for Plaintiff

     6

     7                                  UNITED STATES DISTRICT COURT

     8                                 CENTRAL DISTRICT OF CALIFORNIA

     9
         JOSE VALENZUELA, individually and on behalf         Case No.: 2:24-cv-00257-MRA-JPR
    10   of all others similarly situated,
                                                             CLASS ACTION
    11                               Plaintiff,
                                                             FIRSTSECOND AMENDED COMPLAINT
    12   vs.
                                                             (1)    Violation of California Labor Code §§
    13   EVERI GAMES INC.; and DOES 1 to 10,                        510,
                                                              1194 and 1198 (Unpaid Overtime)
    14                             Defendants.               (2)    Violation of California Labor Code §§
                                                                    226.7 and 512(a) (Unpaid Meal Period
    15
                                                                    Premiums)
                                                             (3)    Violation of California Labor Code §
    16
                                                                    226.7 (Unpaid Rest Period Premiums)
                                                             (4)    Violation of California Labor Code §§
    17
                                                                    1194 1194.2, 1197, and Minimum Wage
                                                                    Order (Failure to Pay Minimum Wage)
    18
                                                             (5)    Violation of California Labor Code §
                                                                    226(a) (Failure to Furnish Timely and
    19
                                                                    Accurate Wage Statements)
                                                             (6)    Violation of Labor Code §§ 201 and 202
    20
                                                                    (Wages Not Timely Paid Upon
                                                                    Termination)
    21
                                                             (7)    Violation of California Business &
                                                                    Professions Code §§ 17200, et seq.
    22
                                                             (8)    Violation of California Labor Code §§
                                                                    2698 et seq.
    23
                                                             (9)    Violation of 29 USC §§ 201 et seq.
    24
                                                             DEMAND FOR JURY TRIAL
    25

    26

    27

    28
                                                       1
                                     FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 5 of 30 Page ID #:387




     1
                                               JURISDICTION AND VENUE
     2
                 1.      This class action is brought pursuant to California Code of Civil Procedure § 382.
     3
         The monetary damages and restitution sought by Plaintiff exceeds the minimal jurisdiction limits of
     4
         the Superior Court and will be established according to proof at trial. The penalties sought by
     5
         Plaintiff exceed the minimal jurisdiction limits of the Superior Court and will be established
     6
         according to proof at trial.1. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
     7
         1332 and 1441.
     8
                 2.      This Court has jurisdiction over this action pursuant to the California Constitution,
     9
         Article VI § 10, which grants the Superior Court “original jurisdiction in all causes except those
    10
         given by statute to other courts.” The statutes under which this action is brought do not specify any
    11
         other basis for jurisdiction.
    12
                 3
    13
                 2.      This Court has jurisdiction over all Defendants because, upon information and belief,
    14
         each party is either a citizen of California, has sufficient minimum contacts in California, or
    15
         otherwise intentionally avails itself of the California market so as to render the exercise of
    16
         jurisdiction over it by the California courts consistent with traditional notions of fair play and
    17
         substantial justice.
    18
                 4.      Pursuant to CCP § 395(a) trial is proper in any county where any defendant resides.
    19
         Because Defendants are out of state corporations, Plaintiff is free to file in any county in California.
    20
         (Easton v. Superior Court (1970) 12 Cal.App.3d 243, 246)
    21
                                                       THE PARTIES
    22
                 53.     Plaintiff is, and at all relevant times was, a citizen of the state of California. Plaintiff
    23
         worked as a non-exempt employee from August 2021 to September 16, 2022. Plaintiff last earned
    24
         $29 an hour.
    25
                 64.     Plaintiff reserves the right to seek leave to amend this complaint to add new
    26
         plaintiffs, if necessary, in order to establish suitable representative(s) pursuant to La Sala v.
    27
         American Savings and Loan Association, 5 Cal. 3d 864, 872 (1971), and other applicable law.
    28
                                                           2
                                         FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 6 of 30 Page ID #:388




                75.     Defendant Everi Games Inc. (“Everi Games” or “Defendants”) is a Delaware
     1
         corporation. At all times hereinafter mentioned, Defendants were employers whose employees were
     2
         engaged throughout this county and the State of California.
     3
                86.     Plaintiff does not know the true names or capacities of the persons or entities sued as
     4
         DOES 1 to 10, inclusive, and therefore sues them by such fictitious names. Each of the DOE
     5
         Defendants was in some manner legally responsible for the violations alleged. Plaintiff will amend
     6
         this complaint to set forth the true names and capacities of these Defendants when they have been
     7
         ascertained, together with appropriate charging allegations, as may be necessary.
     8
                9.      At all times, the Defendants named as DOES 1 to 10, inclusive, and each of them,
     9
         were residents of, doing business in, availed themselves of the jurisdiction of, and/or injured
    10
         Plaintiff and aggrieved employees in the State of California.
    11
                10
    12
                7.      At all times, the Defendants named as DOES 1 to 10, inclusive, and each of
    13
         them, were residents of, doing business in, availed themselves of the jurisdiction of, and/or
    14
         injured Plaintiff in the State of California.
    15
                8.      At all times, each Defendant was the agent, servant, or employee of the other
    16
         Defendants and, in acting and omitting to act as alleged herein, acted within the course and scope of
    17
         that agency or employment.
    18
              11.     Everi Games and DOES 1 to 10 are collectively referred to herein as “Defendants.”
    19
                                             DEFENDANTS’ CONDUCT
    20
                12.     Defendants employed Plaintiff as a Field Technician II from August 2021 to
    21
         September 16, 2022.
    22
                         9.      Everi Games and DOES 1 to 10 are referred to as “Defendants.”
    23
                                            DEFENDANTS’ CONDUCT
    24
                10.     Everi Games provides financial equipment and services to casinos. Specifically
    25
         Everi Games leases slot machines to various casinos in California. And, as part of the lease,
    26
         Everi Games provides 24-7 servicing and maintenance of the slot machines through a Service
    27
         Letter Agreement (SLA) with the casinos.
    28
                                                      3
                                    FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 7 of 30 Page ID #:389




                 11.     As a key selling point, the SLA guarantees the casinos that Everi Games’
     1
         technicians will respond to a service call within 2 hours of the call and complete the job within
     2
         4 hours of their arrival. In other words, Defendants guaranteed the casinos that a job would
     3
         be completed within 6 hours of the call.
     4
                 12.     The SLA directly conflicts with California meal period and rest break laws
     5
         because it makes it virtually impossible for Defendants’ technicians—who work alone—to
     6
         take a rest break and meal period within the first two hours and five hours of their shift,
     7
         respectively.
     8
                 13.     Everi Games circumvented California laws by instructing their technicians to
     9
         “clock-out” for their meal periods on their “UKG App” before the fifth hour and continue
    10
         working to meet the demands of the SLA.
    11
                         a.      Everi Games utilized the UKG App as their electronic timecard and had
    12
         full access to every employee’s time.
    13
                         b.      Everi Games required their technicians to download the UKG App on
    14
         their phones and “clock in” and “clock out” through it.
    15
                         c.      Whenever a technician failed to clock out for their meal periods before
    16
         the fifth hour, Everi Games would do it for them—that is, they would auto-deduct 30 minutes
    17
         to reflect a meal period whether provided or not.
    18
                 14.     Everi Games employed Plaintiff as a Field Technician II—a non¬exempt
    19
         employee—from August 2021 to September 16, 2022.
    20
                 15.     Plaintiff last earned $29 an hour.
    21
                 13.     As a Field Technician II, Plaintiff maintained, repaired and replaced casino games,
    22
         e.g., slot machines, at the casinos. Defendants required Plaintiff to, on average, work three work
    23
         orders or tickets at different casinos every shift.
    24
                 14.     Plaintiff typically worked a 6 am to 5 pm shift and travelled alone to three different
    25
         casinos in San Diego, Riverside and Arizona—all in one shift. Defendants required Plaintiff to drive
    26
         1.5 to 2 hours to each casino location and back home. Plaintiff travelled and worked alone at the
    27
         casinos so there was nobody to relieve him for his meal and rest breaks.
    28
                                                       4
                                     FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 8 of 30 Page ID #:390




                15.     During the course of Plaintiff's employment, Defendants failed to compensate
     1
         Plaintiff and Class members for all overtime hours worked in excess of eight hours per day and/or
     2
         40 hours per week as required by Labor Code §§ 510 and 1194, and applicable Industrial Welfare
     3
         Commission’s (“IWC”) Wage Orders.
     4
                166.    As Field Technician II, Plaintiff maintained and replaced casino games owned
     5
         by Everi Games, e.g., slot machines, at the casinos. And, as a Field Technician, Everi Games
     6
         required Plaintiff to strictly abide by the SLA.
     7
                17.     Everi Games required Plaintiff to, on average, work two to three work orders or
     8
         tickets at different casinos every shift.
     9
                18.     Plaintiff typically worked a 6 am to 5 pm shift and travelled alone to two to
    10
         three casinos in San Diego, Riverside and Arizona—all in one shift.
    11
                19.     Then Everi Games required Plaintiff to be “on-call” from the end of his shift to
    12
         the start of his next shift. Everi Games only provided an additional one hour of pay at $7.50
    13
         for Plaintiff’s “on-call” time—well below the California minimum wage.
    14
                20.     Plaintiff worked approximately five shifts in one workweek during his
    15
         employment with Everi Games, not including any “on-call” time.
    16
                21.     Everi Games required Plaintiff to drive one to two hours to each casino location
    17
         and back home.
    18
                22.     So, on a given shift, Plaintiff would “clock in” on his UKG App at 6 am and
    19
         travel one to two hours to his first casino work order. On average, Plaintiff would service,
    20
         repair or maintain two to three slot machines at each casino—spending about an hour on each
    21
         machine.
    22
                23.     Then, per company policy, Plaintiff had to wait for the casino commissioner to
    23
         come and inspect every component of the machines before he could leave the casino floor.
    24
                24.     Plaintiff’s managers, including Augustine Martinez, would instruct Plaintiff to
    25
         “clock-out” for his meal periods before the fifth hour and continue working to service the
    26
         machines or wait on the casino commissioner.
    27
                25.     Once Plaintiff received the clearance from the casino commissioner, Plaintiff
    28
                                                      5
                                    FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 9 of 30 Page ID #:391




         had to then quickly move onto his next work order at the next casino to meet the demands of
     1
         the SLA.
     2
                       a.     For example, on February 14, 2022, Plaintiff travelled to Harrah’s
     3
         Casino in Funner, CA, San Diego County for a work order. Plaintiff did not receive his rest
     4
         breaks or meal periods that day due to the demands of the SLA. And, as instructed, Plaintiff
     5
         clocked-out before the fifth hour and continued working to meet the demands of the SLA.
     6
         Plaintiff was not paid for the off-the¬clock work at the appropriate overtime pay rate.
     7
                26.    Plaintiff travelled and worked alone at the casinos so—given the demands of the
     8
         SLA—there was nobody to relieve him for his meal and rest breaks. Instead Everi Games
     9
         required Plaintiff to practice “eat while you go”— that is, Plaintiff’s “breaks” coincided with
    10
         Plaintiff’s stopping to fuel up his company van between casino visits.
    11
                27.    At the start of his employment, Plaintiff received a list with all of Everi Games
    12
         technicians’ names and contact information. Everi Games provided the list to Plaintiff and
    13
         other technicians so—despite working alone—they could all communicate and share
    14
         information as a team.
    15
                28.    Plaintiff frequently communicated via text with two other technicians—Ubi
    16
         Hernandez and Mario. And, in addition to sharing information about the technical aspects of
    17
         their jobs, they confirmed to Plaintiff that they too did not receive their Labor-code compliant
    18
         meal periods or rest breaks and were required to “clock-out” for their meal periods before the
    19
         fifth hour and continue working to meet the demands of the SLA.
    20
                29.    During the course of Plaintiff's employment, Everi Games failed to compensate
    21
         Plaintiff for all overtime hours worked in excess of eight hours per day and/or 40 hours per
    22
         week as required by California Labor Code and FLSA. Plaintiff averaged 11-hour shifts, five
    23
         days a week, from August 2021 to September 16, 2022, and Everi Games failed to pay him all
    24
         overtime hours worked over 8+ hours a shift.
    25
                       a.     Everi Games required Plaintiff and Class members to “clock out” before
    26
         the fifth hour and continue working to meet the demands of the SLA. Everi Games failed to
    27
         compensate Plaintiff and Class members for the off-the¬clock work at the appropriate
    28
                                                    6
                                  FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 10 of 30 Page ID
                                  #:392



       overtime pay rate.
  1
              30.     Plaintiff and Class members were not authorized or permitted lawful meal periods
  2
       and were not provided with one hour’s wages in lieu thereof in violation of, among others, Labor
  3
       Code §§ 226.7, 512, and applicable IWC Wage Orders.
  4
              317.    Defendants' non-exempt employees were not authorized or permitted lawful meal
  5
       periods, and were not provided with one hour’s wages in lieu thereof, in one or more of the
  6
       following manners:
  7
                      (a)     employees were regularly not authorized or permitted full thirty-minute meal
  8
                              periods for workdays in excess of five and/or ten hours and were not
  9
                              compensated one hour’s wages in lieu thereof, all in violation of, among
  10
                              others, Labor Code §§ 226.7, 512, and applicable IWC Wage Orders
  11
                      (b)     employees were required to work through their daily meal period(s), or work
  12
                              an unlawful “on-duty meal period”
  13
                      (c)     employees were required to work longer than five hours before being allowed
  14
                              to take a meal period
  15
                      (d)     employees were severely restricted in their ability to take a meal period
  16
              1832. Further Defendants failed to provide Plaintiff and Class members their second meal
  17
       periods for shifts longer than ten hours.
  18
              1933. Plaintiff and Class members were not authorized or permitted lawful rest breaks and
  19
       were not provided with one hour’s wages in lieu thereof in violation of, among others, Labor Code §
  20
       226.7 and applicable IWC Wage Orders.
  21
              2034. As a result, Defendants failed to timely pay Plaintiff and Class members for all
  22
       wages owed to them and Plaintiff and Class members’ paychecks did not include all wages owed to
  23
       Plaintiff and Class members.
  24
              2135. Defendants also failed to correctly record Plaintiff and Class members' meal periods
  25
       as required by Labor Code § 1198 and applicable IWC Wage Orders.
  26
              36.     On September 13, 2023 Plaintiff timely filed his PAGA Notice with the Labor
  27
       and Workforce Development Agency (LWDA). And Plaintiff served the PAGA Notice—
  28
                                                     7
                                   FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 11 of 30 Page ID
                                  #:393



       attached here as Exhibit A—on Everi Games via certified mail over five months ago.
  1
                                       CLASS ACTION ALLEGATIONS
  2
              22.    Plaintiff brings this action individually, as well as on behalf of each and all other
  3
       persons similarly situated in a concerted effort to improve wages and working conditions for other
  4
       non-exempt and/or hourly employees, and thus seeks class certification under Code of Civil
  5
       Procedure § 382.
  6
              23
  7
              37.    Plaintiff brings this action individually, as well as on behalf of each and all other
  8
       persons similarly situated in a concerted effort to improve wages and working conditions for
  9
       other non-exempt and/or hourly employees, and thus seeks class certification under Fed R.
  10
       Civ. P. Rule 23.
  11
              38.    All claims alleged arise under California law for which Plaintiff seeks relief
  12
       authorized by California law.
  13
              2439. The proposed Class consists of and is defined as:
  14
                     All current and/or former non-exempt employees that worked for
  15
                     Defendants in California within four years prior to the filing of this
  16
                     Complaint
  17
              2540. The proposed subclasses consist of and are defined as:
  18
                     OVERTIME SUBCLASS: All members of the Class who were not
  19
                     paid overtime compensation for all hours worked in excess of eight
  20
                     hours per day and/or 40 hours per week
  21
                     MEAL PERIOD SUBCLASS: All members of the Class who were
  22
                     not authorized or permitted to take a 30-minute, uninterrupted meal
  23
                     period for every five hours worked per day and were not compensated
  24
                     one hour’s pay for each day on which such meal period was not
  25
                     authorized or permitted
  26
                     REST BREAK SUBCLASS: All members of the Class who were not
  27
                     authorized or permitted to take a 10-minute, uninterrupted rest break
  28
                                                   8
                                 FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 12 of 30 Page ID
                                  #:394



                        for every four hours worked per day, or major fraction thereof, and
  1
                        were not compensated one hour’s pay for each day on which such rest
  2
                        break was not authorized or permitted
  3
                        UNPAID WAGES SUBCLASS: All members of the Class who
  4
                        performed work for Defendants and were not compensated
  5
                        WAITING TIME SUBCLASS: All members of the Class who, at any
  6
                        time after the date three years prior to the filing of this Complaint,
  7
                        separated their employment from Defendants and were not paid wages
  8
                        within the times specified by Labor Code §§ 201-203 and are owed
  9
                        restitution for waiting time penalties deriving from wages
  10
                        WAGE STATEMENT SUB-CLASS: All members of the Class who
  11
                        received inaccurate wage statements
  12
                        FLSA SUB-CLASS: All members of the Class who worked in the
  13
                        United StatesCalifornia in the past three years
  14
              2641. Plaintiff reserves the right to establish additional subclasses as appropriate.
  15
              427.      At all material times, Plaintiff was a member of the Class.
  16
              2843. There is a well-defined community of interest in the litigation and the Class is readily
  17
       ascertainable:
  18
                        (a)    Numerosity: The members of the class (and each subclass, if any) are so
  19
                               numerous that joinder of all members would be unfeasible and impractical.
  20
                               The membership of the entire class is unknown to Plaintiff at this time;
  21
                               however, the class is estimated to be greater than one hundred (100)
  22
                               individuals and the identity of such membership is readily ascertainable by
  23
                               inspection of Defendants’ employment records.
  24
                        (b)    Typicality: Plaintiff is qualified to, and will, fairly and adequately protect the
  25
                               interests of each class member with whom there is a shared, well-defined
  26
                               community of interest. Plaintiff’s claims (or defenses, if any) are typical of all
  27
                               Class members as demonstrated herein.
  28
                                                      9
                                    FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 13 of 30 Page ID
                                  #:395



                     (c)     Adequacy: Plaintiff is qualified to, and will, fairly and adequately protect the
  1
                             interests of each class member with whom there is a shared, well-defined
  2
                             community of interest and typicality of claims, as demonstrated herein.
  3
                             Plaintiff acknowledges that Plaintiff has an obligation to make known to the
  4
                             Court any relationship, conflicts or differences with any class member.
  5
                             Plaintiff's attorneys, the proposed class counsel, are versed in the rules
  6
                             governing class action discovery, certification, and settlement.
  7
                     (d)     Superiority: The nature of this action makes the use of class action
  8
                             adjudication superior to other methods. Class action will achieve economies
  9
                             of time, effort, and expense as compared with separate lawsuits, and will
  10
                             avoid inconsistent outcomes because the same issues can be adjudicated in
  11
                             the same manner and at the same time for the entire class.
  12
                     (e)     Public Policy Considerations: Employers in the State of California violate
  13
                             employment and labor laws every day. Current employees are often afraid to
  14
                             assert their rights out of fear of direct or indirect retaliation. Former
  15
                             employees are fearful of bringing actions because they believe their former
  16
                             employers might damage their future endeavors through negative references
  17
                             and/or other means. Class actions provide the Class members who are not
  18
                             named in the complaint with a type of anonymity that allows for the
  19
                             vindication of their rights at the same time as their privacy is protected.
  20
              2944. There are common questions of law and fact as to the Class (and each subclass, if
  21
       any) that predominate over questions affecting only individual members, including but not limited
  22
       to:
  23
                     (a)     Whether Defendants engaged in a pattern or practice of failing to pay Plaintiff
  24
                             and the Class members for the total hours worked during the Class period
  25
                     (b)     Whether Defendants’ failure to pay wages, without abatement or reduction, in
  26
                             accordance with the California Labor Code, was willful
  27
                     (c)     Whether Defendants’ timekeeping system and policies failed to record all
  28
                                                   10
                                 FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 14 of 30 Page ID
                                  #:396



                             hours worked by Plaintiff and Class members
  1
                     (d)     Whether Defendants owe Plaintiffs and Class members overtime pay for
  2
                             work over eight hours per day, over 12 hours per day, and/or over forty 40
  3
                             hours per week
  4
                     (e)     Whether Defendants failed to record Plaintiff and Class members' meal
  5
                             periods
  6
                     (f)     Whether Defendants deprived Plaintiff and Class members of meal periods or
  7
                             required Plaintiff and Class members to work during meal periods without
  8
                             compensation
  9
                     (g)     Whether Defendants deprived Plaintiff and Class members of rest periods or
  10
                             required Plaintiff and Class members to work during rest periods without
  11
                             compensation
  12
                     (h)     Whether Defendants’ conduct was willful or reckless
  13
                     (i)     Whether Defendants violated Labor Code § 226 by failing to timely furnish
  14
                             Plaintiff and Class members with accurate wage statements
  15
                     (j)     Whether Defendants violated Labor Code §§ 218.5, 204, 1197, and 1198 by
  16
                             failing to compensate Plaintiff and Class members for those acts Defendants
  17
                             required Plaintiff and Class members to perform for the benefit of Defendants
  18
                     (k)     Whether Defendants engaged in unfair business practices in violation of
  19
                             California Business & Professions Code § 17200, et seq.
  20
                     (l)     The appropriate amount of damages, restitution, or monetary penalties
  21
                             resulting from Defendants’ violations of California law
  22
                                          FIRST CAUSE OF ACTION
  23
       Violation of California Labor Code §§ 510, 1194 and 1198—Unpaid Overtime (Plaintiff and Class
  24
                                              against all Defendants)
  25
              3045. Plaintiff incorporates all paragraphs above as though fully set forth herein.
  26
              3146. California Labor Code § 510 provides that employees in California shall not be
  27
       employed more than eight hours in any workday or 40 hours in a workweek unless they receive
  28
                                                   11
                                 FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 15 of 30 Page ID
                                  #:397



       additional compensation beyond their regular wages in amounts specified by law.
  1
              3247. California Labor Code §§ 1194 and 1198 provide that employees in California shall
  2
       not be employed more than eight hours in any workday unless they receive additional compensation
  3
       beyond their regular wages in amounts specified by law. Additionally California Labor Code § 1198
  4
       states that the employment of an employee for longer hours than those fixed by the Industrial
  5
       Welfare Commission is unlawful. The governing Wage Order of the Industrial Welfare Commission
  6
       requires, among other things, payment of a premium wage rate for all hours worked in excess of
  7
       eight hours per day or 40 hours per week.
  8
              3348. During the course of Plaintiff and Class members’ employment, Defendants failed to
  9
       compensate Plaintiff and Class members for all overtime hours worked in excess of eight hours per
  10
       day and/or 40 hours per week as required by Labor Code §§ 510 and 1194.
  11
              349.    At all times, Defendants failed to pay Plaintiff and Class members overtime
  12
       compensation for the hours they have worked in excess of the maximum hours permissible by law
  13
       as required by California Labor Code § 510 and 1198. Plaintiff and Class members were regularly
  14
       required to work overtime hours without receiving overtime pay.
  15
              350.    By virtue of Defendants’ unlawful failure to pay additional, premium rate
  16
       compensation to Plaintiff and Class members for their overtime hours worked, Plaintiff and Class
  17
       members have suffered, and will continue to suffer, damages in amounts which are presently
  18
       unknown to them but which exceed the jurisdictional limits of this Court and which will be
  19
       ascertained according to proof at trial.
  20
              3651. Plaintiff and Class members request recovery of overtime compensation according to
  21
       proof, interest, attorney’s fees and costs pursuant to California Labor Code § 1194(a), as well as the
  22
       assessment of any statutory penalties against Defendants, in a sum as provided by the California
  23
       Labor Code and/or other statutes.
  24
              3752. Further Plaintiff and Class members are entitled to seek and recover reasonable
  25
       attorneys’ fees and costs pursuant to California Labor Code § 1194.
  26
                                           SECOND CAUSE OF ACTION
  27
                             Violation of California Labor Code §§ 226.7 and 512(a)—
  28
                                                     12
                                   FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 16 of 30 Page ID
                                  #:398



                                           Unpaid Meal Period Premiums
  1
                                     (Plaintiff and Class against all Defendants)
  2
              538.     Plaintiff incorporates all paragraphs above as though fully set forth herein.
  3
              3954. The applicable IWC Wage Order and California Labor Code §§ 226.7 and 512(a)
  4
       were applicable to Plaintiff’s employment by Defendants.
  5
              4055. California Labor Code § 226.7 provides that no employer shall require an employee
  6
       to work during any meal period mandated by an applicable order of the IWC.
  7
              4156. The applicable IWC Wage Order and California Labor Code § 512(a) provide that an
  8
       employer may not require, cause or permit an employee to work for a period of more than five (5)
  9
       hours per day without providing the employee with an uninterrupted meal period of not less than
  10
       thirty (30) minutes, except that if the total work period per day of the employee is not more than six
  11
       (6) hours, the meal period may be waived by mutual consent of both the employer and the
  12
       employee.
  13
              4257. Plaintiff was required to work for periods longer than five (5) hours without an
  14
       uninterrupted meal period of not less than thirty (30) minutes. Plaintiff was not authorized or
  15
       permitted lawful meal periods, and was not provided with one hour’s wages in lieu thereof in
  16
       violation of, among others, Labor Code §§ 226.7, 512, and applicable IWC Wage Orders.
  17
              4358. Defendants willfully required Plaintiff to work during meal periods and failed to
  18
       compensate Plaintiff for work performed during meal periods.
  19
              4459. Defendants failed to pay Plaintiff the full meal period premium due pursuant to
  20
       California Labor Code § 226.7.
  21
              4560. Defendants’ conduct violates the applicable IWC Wage Orders and California Labor
  22
       Code §§ 226.7 and 512(a).
  23
              461.     Pursuant to the applicable IWC Wage Order and California Labor Code § 226.7(b),
  24
       Plaintiff is entitled to recover one additional hour of pay at the employee’s regular hourly rate of
  25
       compensation for each workday that the meal period was not provided.
  26
                                           THIRD CAUSE OF ACTION
  27
                     Violation of California Labor Code § 226.7—Unpaid Rest Period Premiums
  28
                                                     13
                                   FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 17 of 30 Page ID
                                  #:399



                                     (Plaintiff and Class against all Defendants)
  1
              4762. Plaintiff incorporates all paragraphs above as though fully set forth herein.
  2
              4863. The applicable IWC Wage Order and California Labor Code § 226.7 were applicable
  3
       to Plaintiff’s employment by Defendants.
  4
              649.    California Labor Code § 226.7 provides that no employer shall require an employee
  5
       to work during any rest period mandated by an applicable order of the IWC.
  6
              650.    The applicable IWC Wage Order provides that “[e]very employer shall authorize and
  7
       permit all employees to take rest periods, which insofar as practicable shall be in the middle of each
  8
       work period” and that the “rest period time shall be based on the total hours worked daily at the rate
  9
       of ten (10) minutes net rest time per four (4) hours or major fraction thereof” unless the total daily
  10
       work time is less than three and one-half (31/2) hours.
  11
              5166. Defendants required Plaintiff to work four (4) or more hours without authorizing or
  12
       permitting a ten (10) minute rest period per each four (4) hour period worked.
  13
              5267. Defendants willfully required Plaintiff to work during rest periods and failed to
  14
       compensate Plaintiff for work performed during rest periods.
  15
              5368. Defendants failed to pay Plaintiff the full rest period premium due pursuant to
  16
       California Labor Code § 226.7. Defendants’ conduct violates the applicable IWC Wage Orders and
  17
       California Labor Code § 226.7.
  18
              5469. Pursuant to the applicable IWC Wage Order and California Labor Code § 226.7(b),
  19
       Plaintiff is entitled to recover one additional hour of pay at the employee’s regular hourly rate of
  20
       compensation for each workday that the rest period was not provided.
  21
                                          FOURTH CAUSE OF ACTION
  22
                     Violation of California Labor Code §§ 1194, 1194.2, 1197 and Minimum
  23
                                  Wage Order— Failure to Pay Minimum Wages
  24
                                     (Plaintiff and Class against all Defendants)
  25
              5570. Plaintiff incorporates all paragraphs above as though fully set forth herein.
  26
              5671. California Labor Code § 1197 provides, “the minimum wage for employee fixed by
  27
       the commission is the minimum wage to be paid to employees, and the payment of a less wage than
  28
                                                     14
                                   FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 18 of 30 Page ID
                                  #:400



       minimum wage so fixed is unlawful.”
  1
              572.      Defendants paid Plaintiff and Class members less than minimum wages when it
  2
       required them to work during meal periods and rest breaks and donning and doffing “off the clock;”
  3
       and when it failed to pay them proper compensation for all hours worked, including time worked
  4
       during their missed and/or interrupted meal and/or rest periods and “off the clock.”
  5
              5873. Defendants have knowingly and willfully refused to compensate Plaintiff and Class
  6
       members for all wages earned, and all hours worked, at the required minimum wage. As a direct
  7
       result Plaintiff and Class members have suffered and continue to suffer, substantial losses related to
  8
       the use and enjoyment of such compensation and wages; lost interest on such monies and expenses;
  9
       and attorney’s fees in seeking to compel Defendants to fully perform their obligation under state
  10
       law, all to their respective damage in amounts according to proof at trial and within the jurisdiction
  11
       of this Court.
  12
              5974. In relevant part, California Labor Code § 1194 et seq. provides that any employee
  13
       receiving less than minimum wage applicable to the employee is entitled to recover in a civil action
  14
       the unpaid balance of the amount of this minimum wage, including interest, reasonable attorney’s
  15
       fees, and cost of suit, which Plaintiff and Class members seek.
  16
              6075. Pursuant to California Labor Code § 1194.2, Plaintiff and Class members seek
  17
       liquidated damages available to employees who file an action under Labor Code §1194.
  18
                                           FIFTH CAUSE OF ACTION
  19
                                   Violation of California Labor Code § 226(a)—
  20
                              Failure to Furnish Timely and Accurate Wage Statements
  21
                                     (Plaintiff and Class against all Defendants)
  22
              6176. Plaintiff incorporates all paragraphs above as though fully set forth herein.
  23
              6277. At all material times set forth herein, California Labor Code § 226(a) provides that
  24
       every employer shall furnish each of his or her employees an accurate itemized wage statement in
  25
       writing showing nine pieces of information, including: (1) gross wages earned, (2) total hours
  26
       worked by the employee, (3) the number of piece-rate units earned and any applicable piece rate if
  27
       the employee is paid on a piece-rate basis, (4) all deductions, provided that all deductions made on
  28
                                                     15
                                   FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 19 of 30 Page ID
                                  #:401



       written orders of the employee may be aggregated and shown as one item, (5) net wages earned, (6)
  1
       the inclusive dates of the period for which the employee is paid, (7) the name of the employee and
  2
       the last four digits of his or her social security number or an employee identification number other
  3
       than a social security number, (8) the name and address of the legal entity that is the employer, and
  4
       (9) all applicable hourly rates in effect during the pay period and the corresponding number of hours
  5
       worked at each hourly rate by the employee.
  6
              6378. Defendants have intentionally and willfully failed to provide employees with
  7
       complete and accurate wage statements. The deficiencies include, among other things, the failure to
  8
       correctly identify the total hours worked and the gross wages earned by Plaintiff and Class
  9
       members; the overtime hours worked by Plaintiff and Class members; and the meal period and rest
  10
       break premiums owing to Plaintiff and Class members.
  11
              6479. As a result of Defendants’ violation of California Labor Code § 226(a), Plaintiff and
  12
       Class members have suffered injury and damage to their statutorily protected rights.
  13
              6580. Specifically Plaintiff and Class members have been injured by Defendants’
  14
       intentional violation of California Labor Code § 226(a) because they were denied both their legal
  15
       right to receive, and their protected interest in receiving, accurate, itemized wage statements under
  16
       California Labor Code § 226(a).
  17
              6681. Plaintiff was also injured as a result of having to bring this action to attempt to obtain
  18
       correct wage information following Defendants' refusal to comply with many of the mandates of
  19
       California’s Labor Code and related laws and regulations.
  20
              6782. Plaintiff and Class members are entitled to recover from Defendants the greater of
  21
       their actual damages caused by Defendants’ failure to comply with California Labor Code § 226(a),
  22
       or an aggregate penalty not exceeding four thousand dollars per employee.
  23
              683.    Plaintiff and Class members are also entitled to injunctive relief to ensure compliance
  24
       with this section, pursuant to California Labor Code § 226(g).
  25
                                           SIXTH CAUSE OF ACTION
  26
                              Violation of California Labor Code §§ 201 and 202—
  27
                                    Wages Not Timely Paid Upon Termination
  28
                                                    16
                                  FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 20 of 30 Page ID
                                  #:402



                                     (Plaintiff and Class against all Defendants)
  1
              6984. Plaintiff incorporates all paragraphs above as though fully set forth herein
  2
              7085. At all times, California Labor Code §§ 201 and 202 provide that if an employer
  3
       discharges an employee, the wages earned and unpaid at the time of discharge are due and payable
  4
       immediately, and that if an employee voluntarily leaves his or her employment, his or her wages
  5
       shall become due and payable not later than 72 hours thereafter, unless the employee has given 72
  6
       hours previous notice of his or her intention to quit, in which case the employee is entitled to his or
  7
       her wages at the time of quitting.
  8
              7186. During the relevant time period, Defendants willfully failed to pay Class members
  9
       who are no longer employed by Defendants their wages, earned and unpaid, either at the time of
  10
       discharge, or within 72 hours of their leaving Defendants’ employ.
  11
              872.    Class members' final paychecks did not include all wages owed to them.
  12
              7388. Defendants’ failure to pay those Class members who are no longer employed by
  13
       Defendants their wages earned and unpaid at the time of discharge is in violation of California
  14
       Labor Code §§ 201 and 202.
  15
              7489. California Labor Code § 203 provides that if an employer willfully fails to pay wages
  16
       owed, in accordance with sections 201 and 202, then the wages of the employee shall continue as a
  17
       penalty from the due date, and at the same rate until paid or until an action is commenced; but the
  18
       wages shall not continue for more than 30 days.
  19
              7590. Class members are entitled to recover from Defendants their additionally accruing
  20
       wages for each day they were not paid, at their regular hourly rate of pay, up to 30 days maximum
  21
       pursuant to California Labor Code § 203.
  22
                                            SEVENTH CAUSE OF ACTION
  23
                       Violation of California Business & Professions Code § 17200, et seq.
  24
                                     (Plaintiff and Class against all Defendants)
  25
              7691. Plaintiff incorporates all paragraphs above as though fully set forth herein.
  26
              7792. Defendants, and each of them, are “persons” as defined under Business &
  27
       Professions Code § 17021.
  28
                                                     17
                                   FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 21 of 30 Page ID
                                  #:403



              7893. Defendants’ conduct, as alleged herein, has been, and continues to be, unfair,
  1
       unlawful, and harmful to Plaintiff, Class members, and to the general public. Plaintiff seeks to
  2
       enforce important rights affecting the public interest within the meaning of Code of Civil Procedure
  3
       § 1021.5.
  4
              794.    Defendants’ activities, as alleged herein, are violations of California law, and
  5
       constitute unlawful business acts and practices in violation of California Business & Professions
  6
       Code § 17200, et seq.
  7
              8095. A violation of California Business & Professions Code § 17200, et seq. may be
  8
       predicated on the violation of any state or federal law. All of the acts described herein as violations
  9
       of, among other things, the California Labor Code and Industrial Welfare Commission Wage
  10
       Orders, are unlawful and in violation of public policy; and in addition are immoral, unethical,
  11
       oppressive, fraudulent and unscrupulous, and thereby constitute unfair, unlawful and/or fraudulent
  12
       business practices in violation of California Business and Professions Code § 17200, et seq.
  13
                                              Failing to Pay Overtime
  14
              8196. Defendants’ failure to pay overtime compensation and other benefits in violation of
  15
       California Labor Code §§ 510, 1197, and 1198 constitutes unlawful and/or unfair activity prohibited
  16
       by Business and Professions Code § 17200, et seq.
  17
                                     Failing to Provide Meal and Rest Periods
  18
              8297. Defendants’ failure to provide legally required meal and rest periods in violation of
  19
       California Labor Code, as alleged above, constitutes unlawful and/or unfair activity prohibited by
  20
       Business and Professions Code § 17200, et seq.
  21
                                                Failing to Pay Wages
  22
              983.    Defendants’ failure to pay minimum wages constitutes unlawful and/or unfair
  23
       activity prohibited by Business and Professions Code § 17200, et seq.
  24
                                  Failing to Timely Pay Wages Upon Termination
  25
              8499. Defendants’ failure to timely pay wages upon termination in accordance with Labor
  26
       Code §§ 201 and 202, as alleged above, constitutes unlawful and/or unfair activity prohibited by
  27
       Business and Professions Code § 17200, et seq.
  28
                                                     18
                                   FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 22 of 30 Page ID
                                  #:404



                              Failing to Provide Accurate Itemized Wage Statements
  1
              85100. Defendants’ failure to provide accurate itemized wage statements in accordance with
  2
       California Labor Code § 226, as alleged above, constitutes unlawful and/or unfair activity prohibited
  3
       by Business and Professions Code § 17200, et seq.
  4
                                          Failing to Record Meal Periods
  5
              86101. Defendants’ failure to record meal periods in violation of California Labor Code §
  6
       1198 and IWC Wage Order, as alleged above, constitutes unlawful and/or unfair activity prohibited
  7
       by Business and Professions Code § 17200, et seq.
  8
              87102. By and through their unfair, unlawful and/or fraudulent business practices described
  9
       herein, Defendants have obtained valuable property, money and services from Plaintiff, and all
  10
       persons similarly situated, and have deprived Plaintiff, and all persons similarly situated, of valuable
  11
       rights and benefits guaranteed by law, all to their detriment.
  12
              88103. Plaintiff and Class members suffered monetary injury as a direct result of
  13
       Defendants’ wrongful conduct.
  14
              89104. Plaintiff, individually, and on behalf of Class members, is entitled to, and does, seek
  15
       such relief as may be necessary to disgorge the profits which the Defendants have acquired, or of
  16
       which Plaintiff has been deprived, by means of the above-described unfair, unlawful and/or
  17
       fraudulent business practices. Plaintiff and Class members are not obligated to establish individual
  18
       knowledge of the unfair practices in order to recover restitution.
  19
              9105. Plaintiff, individually, and on behalf of Class members, is further entitled to and do
  20
       seek a declaration that the above-described business practices are unfair, unlawful and/or fraudulent,
  21
       and injunctive relief restraining the Defendants, and each of them, from engaging in any of the
  22
       above-described unfair, unlawful and/or fraudulent business practices in the future.
  23
              9106. Plaintiff, individually, and on behalf of Class members, has no plain, speedy, and/or
  24
       adequate remedy at law to redress the injuries that Plaintiff has suffered as a consequence of
  25
       Defendants’ unfair, unlawful and/or fraudulent business practices. As a result of the unfair, unlawful
  26
       and/or fraudulent business practices described above, Plaintiff, individually, and on behalf of Class
  27
       members, has suffered and will continue to suffer irreparable harm unless Defendants, and each of
  28
                                                    19
                                  FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 23 of 30 Page ID
                                  #:405



       them, are restrained from continuing to engage in said unfair, unlawful and/or fraudulent business
  1
       practices.
  2
              92107. Pursuant to California Business & Professions Code § 17200, et seq., Plaintiff and
  3
       Class members are entitled to restitution of the wages withheld and retained by Defendants during a
  4
       period that commences four years prior to the filing of this complaint; a permanent injunction
  5
       requiring Defendants to pay all outstanding wages due to Plaintiff and Class members; an award of
  6
       attorneys’ fees pursuant to California Code of Civil Procedure § 1021.5 and other applicable laws;
  7
       and an award of costs.
  8
                                          EIGHTH CAUSE OF ACTION
  9
                                Violation of California Labor Code §§ 2698, et seq.
  10
                                    (Plaintiff and Class against all Defendants)
  11
              93108. Plaintiff incorporates all paragraphs above as though fully set forth herein.
  12
              1094. California Labor Code §§ 2698, et seq. (“PAGA”) permits Plaintiff to recover civil
  13
       penalties for the violation(s) of the Labor Code.
  14
              95110. At all times, PAGA was applicable to Plaintiff’s employment by Defendants.
  15
              96111. At all times, PAGA provides that any provision of law under the California Labor
  16
       Code that provides for a civil penalty to be assessed and collected by the LWDA for violations of
  17
       the California Labor Code may, as an alternative, be recovered through a civil action brought by an
  18
       aggrieved employee on behalf of herself and other current or former employees pursuant to
  19
       procedures outlined in California Labor Code § 2699.3.
  20
              97112. Pursuant to PAGA, a civil action under PAGA may be brought by an “aggrieved
  21
       employee,” who is any person that was employed by the alleged violator and against whom one or
  22
       more of the alleged violations was committed.
  23
              98113. Plaintiff was employed by Defendants and the alleged violations were committed
  24
       against him during his time of employment and he is, therefore, Aggrieved Employee. Plaintiff and
  25
       other employees are Aggrieved Employees as defined by California Labor Code § 2699(c) in that
  26
       they are all current or former employees of Defendants who are or were employed by Defendants,
  27
       and one or more of the alleged violations were committed against them.
  28
                                                    20
                                  FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 24 of 30 Page ID
                                  #:406



              99114. Pursuant to California Labor Code §§ 2699.3 and 2699.5, an aggrieved employee,
  1
       including Plaintiff, may pursue a civil action arising under PAGA after the following requirements
  2
       have been met:
  3
                      (a)     The aggrieved employee shall give written notice (“Employee’s Notice”) to
  4
                              the LWDA and the employer of the specific provisions of the California
  5
                              Labor Code alleged to have been violated, including the facts and theories to
  6
                              support the alleged violations.
  7
                      (b)     The LWDA shall provide notice (“LWDA Notice”) to the employer and the
  8
                              aggrieved employee by certified mail that it does not intend to investigate the
  9
                              alleged violation within sixty (60) calendar days of the postmark date of the
  10
                              Employee’s Notice. Upon receipt of the LWDA Notice, or if the LWDA
  11
                              Notice is not provided within sixty-five (65) calendar days of the postmark
  12
                              date of the Employee’s Notice, the aggrieved employee may commence a
  13
                              civil action pursuant to California Labor Code § 2699 to recover civil
  14
                              penalties in addition to any other penalties to which the employee may be
  15
                              entitled.
  16
              10015. On September 13, 2023 Plaintiff provided written notice online to the LWDA, and
  17
       by certified mail to Defendants, of the specific provisions of the California Labor Code alleged to
  18
       have been violated, including the facts and theories to support the alleged violations.
  19
              1016. Plaintiff has satisfied the administrative prerequisites under California Labor Code §
  20
       2699.3(a) to recover civil penalties against Defendants, in addition to other remedies, for violations
  21
       of California Labor Code §§ 200, 201, 202, 203, 204, 221, 224, 226(a), 226.7, 226.8, 510, 512(a),
  22
       1102.5, 1174, 1194, 1197, and 1198.
  23
              10217. Pursuant to California Labor Code §§ 2699(a), 2699.3 and 2699.5, Plaintiff and all
  24
       other aggrieved employees are entitled to recover civil penalties against Defendants, in addition to
  25
       other remedies, for violations of California Labor Code §§ 200, 201, 202, 203, 204, 221, 224,
  26
       226(a), 226.7, 226.8, 510, 512(a), 1102.5, 1174, 1194, 1197, and 1198.
  27
              10318. Further Plaintiff is entitled to seek and recover reasonable attorneys’ fees and costs
  28
                                                    21
                                  FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 25 of 30 Page ID
                                  #:407



       pursuant to California Labor Code § 2699 and any other applicable statute.
  1
                                            NINTH CAUSE OF ACTION
  2
                          Violation of 29 USC §§ 201, et seq.—Fair Labor Standards Act
  3
                                 (Plaintiff and FLSA Class against all Defendants)
  4
              10419. Plaintiff incorporates all paragraphs above as though fully set forth herein.
  5
              1205. At all material times herein, Plaintiff and all similarly situated FLSA Class who
  6
       submit consents to become party Plaintiffs are or were employed by and engaged in providing
  7
       services necessary to description of duties by Defendant, and have been entitled to the rights,
  8
       protections, and benefits provided under the FLSA. 29 U.S.C. §§ 201 et seq.
  9
              10621. The FLSA requires, among other things, that employers pay employees the minimum
  10
       wage for all time worked plus overtime. 29 U.S.C. §§ 206, 207, 215
  11
              10722. At all material times, all time worked by Plaintiff and FLSA Class is necessarily and
  12
       directly related to the principal activities of the employee's duties, and thus constitutes compensable
  13
       time under the FLSA and is subject to the FLSA's overtime requirements. 29 C.F.R. § 785.38
  14
              10823. At all material times herein, Defendants have violated the FLSA by failing to pay the
  15
       FLSA Class for all hours worked.
  16
              10924. At all material times herein, Defendants have violated the FLSA by failing to pay
  17
       FLSA Class at one-and-one-half (1.5) times the regular rate of pay when they worked in excess of
  18
       forty (40) hours in a week.
  19
              11025. Defendants have also violated the FLSA by failing to keep required accurate records
  20
       of all hours worked by their FLSA Class. 29 U.S.C. § 211(c)
  21
              11126. Plaintiff and all similarly situated employees are victims of a uniform and entity-
  22
       wide compensation policy. This uniform policy, in violation of the FLSA, has been applied to all
  23
       employees employed by Defendants.
  24
              1127. Plaintiff and all similarly situated individuals are entitled to damages equal to the
  25
       mandated pay and overtime premium pay within the three (3) years preceding the filing of this
  26
       Complaint, plus periods of equitable tolling, because Defendants acted willfully and knew or
  27
       showed reckless disregard of whether their conduct was prohibited by the FLSA.
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                                                       22
                                     FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 26 of 30 Page ID
                                  #:408



              11328. Defendants have acted neither in good faith nor with reasonable grounds to believe
  1
       that their actions and omissions were not a violation of the FLSA. Plaintiff and other similarly
  2
       situated individuals are entitled to recover an award of liquidated damages in an amount equal to the
  3
       amount of unpaid compensation, including overtime pay, and/or prejudgment interest at the
  4
       applicable rate. 29 U.S.C. § 216(b)
  5
              11429. As a result of violations of the FLSA's minimum wage and overtime pay provisions,
  6
       Defendants have unlawfully withheld compensation from Plaintiff and all similarly situated
  7
       individuals. Defendants are liable for unpaid compensation, together with an amount equal as
  8
       liquidated damages, attorneys' fees and costs of this action. 29 U.S.C.§ 216(b)
  9
                                              PRAYER FOR RELIEF
  10
              Plaintiff, individually, and on behalf of all others similarly situated, prays for relief and
  11
       judgment against Defendants, jointly and severally, as follows:
  12
                                                 Class Certification
  13
              1.      That this action be certified as a class action
  14
              2.      That Plaintiff be appointed as the representatives of the Class, and
  15
              3.      That counsel for Plaintiff be appointed as Class Counsel
  16
                                           As to the First Cause of Action
  17
              4.      That the Court declare, adjudge and decree that Defendants violated California Labor
  18
       Code §§ 510 and 1198 and applicable IWC Wage Orders by wilfully failing to pay all overtime
  19
       wages due to Plaintiff and Class members;
  20
              5.      For general unpaid wages at overtime wage rates and such general and special
  21
       damages as may be appropriate;
  22
              6.      For pre-judgment interest on any unpaid overtime compensation commencing from
  23
       the date such amounts were due;
  24
              7.      For reasonable attorneys’ fees and for costs of suit incurred herein pursuant to
  25
       California Labor Code § 1194(a); and,
  26
              8.      For such other and further relief as the Court may deem equitable and appropriate.
  27
                                   As to the Second and Third Causes of Action
  28
                                                    23
                                  FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 27 of 30 Page ID
                                  #:409



              9.      That the Court declare, adjudge and decree that Defendants violated California Labor
  1
       Code §§ 226.7 and 512 and applicable IWC Wage Orders by wilfully failing to provide all meal
  2
       periods and rest breaks to Plaintiff and Class members;
  3
              10.     That the Court make an award to the Plaintiff and Class members of one hour of pay
  4
       at each employee's regular rate of compensation for each workday that a meal period and rest break
  5
       were not provided;
  6
              11.     For all actual, consequential, and incidental losses and damages, according to proof;
  7
              12.     For premiums pursuant to California Labor Code § 226.7(b);
  8
              13.     For pre-judgment interest on any unpaid wages from the date such amounts were
  9
       due; and,
  10
              14.     For such other and further relief as the Court may deem equitable and appropriate.
  11
                                         As to the Fourth Cause of Action
  12
              15.     That the Court declare, adjudge and decree that Defendants violated California Labor
  13
       Code §§ 1194 and 1197;
  14
              16.     For general unpaid wages and such general and special damages as may be
  15
       appropriate;
  16
              17.     For pre-judgment interest on any unpaid compensation commencing from the date
  17
       such amounts were due;
  18
              18.     For liquidated damages;
  19
              19.     For reasonable attorneys’ fees and for costs of suit incurred; and
  20
              20.     For such other and further relief as the Court may deem equitable and appropriate.
  21
                                          As to the Fifth Cause of Action
  22
              21.     That the Court declare, adjudge and decree that Defendants violated the record
  23
       keeping provisions of California Labor Code § 226(a) and applicable IWC Wage Orders as to
  24
       Plaintiff and Class members, and wilfully failed to provide accurate itemized wage statements;
  25
              22.     For all actual, consequential and incidental losses and damages, according to proof;
  26
              23.     For statutory penalties pursuant to California Labor Code § 226(e);
  27
              24.     For injunctive relief to ensure compliance with this section, pursuant to California
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                                                    24
                                  FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 28 of 30 Page ID
                                  #:410



       Labor Code § 226(g); and,
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              25.     For such other and further relief as the Court may deem equitable and appropriate.
  2
                                           As to the Sixth Cause of Action
  3
              26.     That the Court declare, adjudge and decree that Defendants violated California Labor
  4
       Code §§ 201, 202, and 203 by wilfully failing to pay all compensation owed at the time of
  5
       termination of the employment of terminated Class members;
  6
              27.     For all actual, consequential and incidental losses and damages, according to proof;
  7
              28.     For statutory wage penalties pursuant to California Labor Code § 203 for all Class
  8
       members who have left Defendants’ employ;
  9
              29.     For pre-judgment interest on any unpaid wages from the date such amounts were
  10
       due; and,
  11
              30.     For such other and further relief as the Court may deem equitable and appropriate.
  12
                                         As to the Seventh Cause of Action
  13
              31.     That the Court declare, adjudge and decree that Defendants violated California
  14
       Business and Professions Code §§ 17200, et seq. by failing to provide Plaintiff and Class members
  15
       all overtime compensation due to them; by failing to provide all meal and rest periods and failing to
  16
       pay for all missed meal and rest periods; by failing to pay minimum wages; by failing to pay timely
  17
       and earned wages upon termination; by failing to provide accurate itemized wage statements; and by
  18
       failing to record meal periods;
  19
              32.     For restitution of unpaid wages to Plaintiff and all Class members and prejudgment
  20
       interest from the day such amounts were due and payable;
  21
              33.     For the appointment of a receiver to receive, manage and distribute any and all funds
  22
       disgorged from Defendants and determined to have been wrongfully acquired by Defendants as a
  23
       result of violations of California Business & Professions Code §§ 17200 et seq.;
  24
              34.     For reasonable attorneys’ fees and costs of suit incurred herein pursuant to California
  25
       Code of Civil Procedure § 1021.5;
  26
              35.     For injunctive relief to ensure compliance with this section, pursuant to California
  27
       Business & Professions Code § 17200, et seq.; and,
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                                                     25
                                   FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 29 of 30 Page ID
                                  #:411



              36.     For such other and further relief as the Court may deem equitable and appropriate.
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                                         As to the Eighth Cause of Action
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              37.     That the Court declare, adjudge and decree that Defendants violated the following
  3
       California Labor Code sections: 200, 201, 202, 203, 204, 221, 224, 226(a), 226.7, 226.8, 510,
  4
       512(a), 1102.5, 1174, 1194, 1197, and 1198;
  5
              38.     For civil penalties pursuant to California Labor Code § 2699(a) and/or 2699(f) and
  6
       (g) in the amount of at least one hundred dollars ($100) for each violation per pay period for the
  7
       initial violation and two hundred dollars ($200) for each aggrieved employee per pay period for
  8
       each subsequent violation, plus costs and attorneys’ fees for violation of California Labor Code §§
  9
       200, 201, 202, 203, 204, 221, 224, 226(a), 226.7, 226.8, 510, 512(a), 1102.5, 1174, 1194, 1197, and
  10
       1198; and,
  11
              39.     For such other and further relief as the Court may deem equitable and appropriate.
  12
                                          As to the Ninth Cause of Action
  13
              40.     That the Court declare, adjudge and decree that Defendants violated 29 USC §§ 201,
  14
       et seq. by willfully failing to pay Class members for all hours worked;
  15
              41.     For an award of liquidated damages in an amount equal to the amount of unpaid
  16
       compensation, including overtime pay, and/or prejudgment interest at the applicable rate;
  17
              42.     For liquidated damages, attorneys' fees and costs of this action; and
  18
              43.     For such other and further relief as the Court may deem equitable and appropriate.
  19
                      Respectfully Submitted,
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  21
       Dated: November 17, 2023        March 4, 2024        PARK APC
  22
                                                            /s/ Sang (James) Park
  23
                                                             By:    Sang (James) Park
  24
                                                            Attorneys for Plaintiff
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                                                    26
                                  FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
Case 2:24-cv-00257-MRA-JPR Document 29-2 Filed 03/18/24 Page 30 of 30 Page ID
                                  #:412




  1
                                        DEMAND FOR JURY TRIAL
  2
                    Plaintiff hereby respectfully demands a jury trial.
  3
       Respectfully Submitted,
  4

  5
       Dated: November 17, 2023      March 4, 2024        PARK APC
  6
                                                          /s/ Sang (James) Park
  7
                                                           By:    Sang (James) Park
  8
                                                          Attorneys for Plaintiff
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                                 FIRSTSECOND AMENDED CLASS ACTION COMPLAINT
